CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/08/20 Page 1 of 11




                                        20-mj-366 HB
CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/08/20 Page 2 of 11
CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/08/20 Page 3 of 11
CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/08/20 Page 4 of 11
CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/08/20 Page 5 of 11
CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/08/20 Page 6 of 11
CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/08/20 Page 7 of 11
CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/08/20 Page 8 of 11
CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/08/20 Page 9 of 11
CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/08/20 Page 10 of 11
CASE 0:20-cr-00113-DSD-BRT Doc. 1-1 Filed 06/08/20 Page 11 of 11
